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AO 91 (Rev. 11/11) Criminal Complaint
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                                        UNITED STATES DISTRICT COURT
                                                                  for the
                                                                                           0
                                                                                                             ....,,
                                                                                                                AUG 052019
                                                         Southern District of Texas

                 United States of America                             )
                                 ;

                       Llnoon 1-'mg Lee                               )     Case No.
                                                                                          H19-1441M
                                                                      )


                          Defendant(s)


                                                   CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                       May 5, 2019                in the county of                 Harris           in the
    Southern           District of               Texas            , the defendant(s) violated:

             · ~ode Section                                                    Offense Description
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          This criminal complaint is based on these iacts:
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          0 Continued on the attached sheet.




                                                                                               FBI S/A Doretta Sannino
                                                                                                  Printed name and title

Sworn to before me and signed in my presence.


Date:          August 5, 2019



City and state:                         Houston, Texas                                U.S. Magistrate Judge Christina Bryan
                                                                                                  Printed name and title
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                    STATEMENT OF PROBABLE CAUSE

     I, Doretta J. Sannino, being duly sworn, hereby depose and
state the following:

  1. I am employed as Special Agent with Federal Bureau of

     Investigation (FBI), United States Department of Justice,

    and have been so employed for almost (28) years. Prior to

    the FBI, I served in the U.S. Army. I am currently assigned

    to the Houston Division of the FBI, Squad CT-2. Since June,

    2013, my primary duties consist of multiple investigations

    pertaining to violations of federal law which occur within

    the airport environment and aboard aircraft at the George

    Bush Intercontinental and Hobby Airports. Title 49 United

    States Code, Section 46501 establishes the Special Aircraft

    Jurisdiction of the United States and gives the federal

    government jurisdiction in all criminal matters occurring

    on any civil aircraft of the United States while in flight

    regardless of departure or arrival location.


  2. This affidavit is in support of a complaint charging

    Choon Ping LEE, Malaysian Citizen, with a violation of

    Title 18, United States Code, Section 1801 (a) (b) (1.): Video·

    Voyeurism within the Special Maritime and Territorial

    Jurisdiction of the United States. This violation, which

    occurred on or about May 5, 2019 while on board United

    Airlines flight ·646, outbound from San Diego, California to


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       Houston, Texas. This is within Special Maritime and

       Territorial Jurisdiction of the United States.

  3.    The facts set forth in this statement of probable cause

are based on my personal participation in this investigation,

observations, my training and experience, and information

obtained from other local and federal law enforcement officers

and witnesses. This statement is intended to show that there is

probable cause for the violation of Title 18, USC 1801 (a) (b) (1),

Video Voyeurism and does not purport to set forth all of my

knowledge or investigation into this matter.

  Background/Summary of Cause that a Violation Occurred

  1. Title 18 of the United States Code, Section 1801 states in

       pertinent part, "Whoever, in the Special Maritime and

       Territorial Jurisdiction of the United States has the

       intent to capture an image of the private area of an

       individual without their consent, and knowingly does so

       under circumstances in which the individual has a

       reasonable expectation of privacy, shall be fined under

       this title or imprisoned not more than one year, or both."

   2. An identified female first class passenger who resides in

the Houston area advised she flew on United Airlines Flight 646,

which departed San Diego en route to Houston on May 5, 2019. She

sat in the last row of first class, seat SB. She was awake the

entire flight and stated when she went to the first class

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lavatory, she noticed an item with a blue blinking light. She

stated it was located near the cabinet and wall area close to a

door hinge. The item was loosely hanging and she wasn't sure if

the item was part of the aircraft, but thought it was odd. Once

done in the lavatory, the identified female passenger stood up,

_grabbed the item with a paper towel, walked out of the lavatory

and gave it to the flight crew.

    3. The flight crew notified and provided the item located by

an identified female first class passenger to Houston George

Bush Intercontinental Airport United Airlines Corporate

Security. It was confirmed by Houston United Airlines Corporate

Security the item was a video recording device. After viewing

the information on the device, a male was caught on video

installing the device in the first class lavatory of this

particular flight.

    4.   In the video footage,     you cannot see the man's face, but

can see clothing and jewelry details which were distinctive. The

footage revealed the male wore a watch on his left hand and a

small bracelet on his right wrist. Further identifying the male

was a blue short sleeved shirt and loosely fitted blue jeans. He

also wore black.tennis shoes with black leather on top near the

black laces and white trim on the bottom of the shoes.

    5. FBI San Diego obtained additional airport video footage of

United Airlines Flight 646 passengers boarding the aircraft.

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Coverage of the male obtained in the San Diego boarding area

matched the clothing of the male who installed the device. The

male's blue short sleeved shirt was easily identified as well as

the jeans and black tennis shoes with white bottoms. During

boarding, the letters NJC were seen on the back of the male's

shirt. He also wore glasses and carried a black backpack.

   6. The footage of the male departing the aircraft on the jet

way after it landed in Houston at George Bush Intercontinental

Airport further solidified the clothing and jewelry matched the

male who conducted the video installation.

   7.        Houston Police Department at George Bush Intercontinental

Airport utilized video footage of the identified male's clothing

as he walked through the airport to enhance photos of the male's

face, clothing, shoes, and jewelry to make a conclusive

identification of the man who installed the device in the first

class lavatory.

   8.        Through comparison with the device installation recording

provided by United Airlines Corporate Security, the San Diego

boarding footage and confirmation within the Houston airport

camera system footage, the male who installed the device was

identified as Choon Ping LEE, a citizen of Malaysia. Further

checks revealed he is currently employed with Halliburton.

        9.      United Airlines Corporate Security confirmed Choon

  Ping LEE sat in first class on United Airlines Flight 646 on

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  May 5, 2019, seat lA.

  10. FBI Houston conducted further checks on the video

     recording device and determined files were deleted. The

     deleted files yielded photos of another aircraft

     bathroom/lavatory where at least two women/victims were

     caught on camera. After further review and research, it was

     determined the deleted files were of the Emirates Aircraft

     Lavatory. One of the women/victims caught on camera was

     wearing an Emirates flight crew uniform.

   11. Halliburton was contacted and provided the FBI with

requested travel information for Choon Ping LEE. LEE's travel

verified he had flown on Emirates Airlines for work related

matters. Furthermore, Halliburton showed a real time photo of

LEE as he walked down a hallway at his current job site. The

real time photo of LEE showed he was wearing a watch and

bracelet that matched the same jewelry captured during the video

installation on board United Airlines 646 on May 5, 2019.

      12. Based upon the foregoing, your affiant therefore,

   believes there is probable cause that Choon Ping LEE

   committed Video Voyeurism within the Special Maritime and

   Territorial Jurisdiction of the United States, in Violation

   of Title 18, United States Code, Section 1801 (a) (b) (1) and

   respectfully requests a warrant be issued authorizing the

   arrest of Choon Ping LEE.

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                                       Q~~
                                          Special Agent, FBI


     SWORN AND SUBSCRIBED before me on this ~ d a y of August,
2019, and I find probable cause.




                                          U.S. Magistrate Judge
                                          Southern District of Texas




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